From: Debra Frost
Sent: Friday, May 1, 2020 8:27:30 PM (UTC-08:00) Pacific Time (US & Canada)
To: CANB Emergency Filings
Subject: PG&E Corporation Bankruptcy Case #19-30088 (DM)

Dear Honorable Judge Montali and/or Court,

My name is Debra J Frost and I am a claimant in the PG&E Corporation bankruptcy case #19-30088 (DM). I
received a Court Ordered Notice regarding the bankruptcy which included a “Rescission or Damage Claim
Proof of Claim” form. I am writing to you to alert the Court the Debtor (PG&E Corporation), did not provide the
bankruptcy notice/claim form in a timely manner to allow the claimant time to file by the deadline of 04/16/2020.
In fact, I am enrolled in the United States Postal Service (USPS) “Informed Delivery” which provides me with
an emailed scan of mail soon to be delivered. On Saturday, 04/18/2020, two days AFTER the filing deadline, I
received an email from USPS “Informed Delivery” that I was going to be receiving a piece of mail from
Primeclerk LLC. I received the piece of mail from Primeclerk LLC between 04/21 and 04/23/2020. Today,
05/01/2020, I called the phone number on the documentation, 844-339-4217, and was told that I could still file
the damage claim, however the Debtor reserved the right to deny the claim, even though I was not provided
the documentation in a timely manner which precluded my ability to file the claim by the deadline. The person
also told me that if I had an issue I needed to contact my broker, Charles Schwab, and did not/would not
provide any other information of who I could contact regarding my concern. Basically, what I got from the
conversation was that I was out of luck and that’s all there was to it.

Having been employed by PG&E from 1991 to 2005 I am well aware of practices employed by PG&E
management that appeared questionable. I do not believe it is acceptable for PG&E to send information late so
that claimants cannot file by the deadline. The Debtor’s failure to deliver required notice in a timely manner
which denied me, and mostly likely many others, the ability to file the claim prior to the deadline should not be
a valid reason for denial of the claim. When I called the number 844-339-4217 a second time, I was again told
to contact Charles Schwab (my broker), that it was their fault for late delivery. I repeatedly requested who I
could discuss this matter with and was finally provided an email address PGEInfo@primeclerk.com. When I
emailed PGEInfo@primeclerk.com and provided proof of the late delivery, I very quickly received a boilerplate
reply again placing fault for the late delivery on my broker. Personally, I believe the delivery of the materials
AFTER the deadline is a tactic employed by PG&E to deliberately deny claims in this bankruptcy.

Attached to this email please find the following emails:

1. Email from USPS “Informed Delivery” which provides proof of delivery AFTER the filing deadline;
2. Email from Debra Frost to PGEInfo@primeclerk.com identifying the late delivery and providing them the
email from USPS;
3. Read receipt from Michael Hill, Primeclerk LLC (mhill@primeclerk.com);
4. Emailed response from PGEInfo@primeclerk.com.

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I greatly appreciate the Court’s assistance in addressing this matter or at least taking this matter into
consideration. I would be very curious how many other claimants received the bankruptcy notice/claim forms
AFTER the claim filing deadline. Thank you for your time.

Respectfully,

Debra J. Frost
432 W Shaw Road
Elizabeth, IL 61028
530-260-4478




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